                                                                     Michael M. Rosenberg
                                                                     Associate
                                                                     353 N. Clark Street, Ste. 3600
                                                                     Chicago, Illinois 60654
                                                                     T (312) 924-9833
                                                                     mrosenberg@buckleyfirm.com




August 1, 2022

The Honorable Judge Dora L. Irizarry
U.S. District Court, Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

RE: Scripts Wholesale, Inc. et al. v. Mainspring Distribution LLC, et al., No. 18-cv-06612
(DLI) (JRC)

Dear Judge Irizarry:

I write to request to be relieved as counsel for Defendants Mainspring Distribution LLC
(“Mainspring”) and Edvin Ovasapyan in the above-referenced matter.1 I was previously an
associate with the law firm of Moses & Singer (now Moses Singer), which was originally
retained on this matter. On October 15, 2021, I departed Moses & Singer for Buckley LLP,
where I now practice in Chicago, Illinois. My present firm was not engaged to represent the
Defendants.

To the extent this motion is not ruled upon prior to the status conference scheduled for this
Thursday, August 4 at 11:00 a.m., I respectfully request that I be permitted to appear
telephonically.

Thank you for your time and consideration.

                                                             Sincerely,



                                                             Michael Rosenberg




1
 Although Your Honor’s Individual Motion Practice and Rules (Rule III A.9) refer motions to
be relieved as counsel to the assigned U.S. Magistrate Judge, I submit this letter to Your Honor
under the circumstances of this case, including the Court’s Order that all Defendants and
Counsel appear before the Court on August 4 at 11:00 a.m.
